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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF OKLAHOMA

KARL FONTENOT,                                      )
                                                    )
                        Petitioner,                 )
                                                    )
v.                                                  )           No. CIV 16-069-JHP-KEW
                                                    )
JOE ALLBAUGH,                                       )
                                                    )
                        Respondent.                 )

                                               ORDER

        Petitioner has filed a motion for sanctions, leave to amend his amended petition for

writ of habeas corpus, and a hearing (Dkt. 114).1 Respondent has filed a response to the

motion, stating he has no objection to amendment of the petition (Dkt. 116). After careful

review of the motion, response, and Petitioner’s reply (Dkt. 117), the Court finds Petitioner

should be granted leave to file a second amended petition as set forth below.

        The second amended petition will supersede and completely replace the first amended

petition, with the exception of the exhibits attached to the first amended petition. The second

amended petition may reference the exhibits filed with the first amended petition, as long as

the exhibits are not renumbered. Any new exhibits in the second amended petition must

conform with the exhibit numbering system in the first amended petition. In addition, in a

separate document, Petitioner must notify the Court of the specific changes or additions made

in the second amended petition, in comparison to the first amended petition.



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         Petitioner is advised that pursuant to Local Civil Rule 7.1(b), [e]ach motion, application,
or objection filed shall be a separate pleading . . . .” All future filings should comply with this rule.
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       The second amended petition must be filed within thirty (30) days of the entry of this

Order. Respondent may file a response to the second amended petition within thirty (30)

days of its filing, and Petitioner may file a reply within fourteen (14) days of the filing of the

response.

       ACCORDINGLY, Petitioner’s motion for sanctions, leave to file a second amended

petition, and a hearing (Dkt. 114) is GRANTED to the extent Petitioner is granted leave to

file a second amended habeas corpus petition in accordance with the instructions in this

Order. Petitioner’s other requests for relief will be addressed in a separate Order.

       IT IS SO ORDERED this 14th day of February, 2019.




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